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10   Proposed Counsel to the Chapter 7 Trustee,
     Richard A. Marshack
11

12                            UNITED STATES BANKRUPTCY COURT

13                             CENTRAL DISTRICT OF CALIFORNIA

14                                     SANTA ANA DIVISION

15    In re:                                          Case No. 8:24-bk-12527-TA

16    Kristina Lynn Smith,                            Chapter 7

17             Debtor.                                CHAPTER 7 TRUSTEE’S OPPOSITION TO
                                                      MOTION TO DISMISS BANKRUPTCY
18                                                    CASE DUE TO BAD FAITH FILING

19                                                    [Hearing Requested – Local Bankruptcy Rule
                                                      9013-1(o)(4)]
20
                                                      Hearing:
21                                                    Date:    February 11, 2025
                                                      Time:    11:00 a.m.
22                                                    Place:   Courtroom 5B
                                                               411 W Fourth St.
23                                                             Santa Ana, CA 92701
                                                               via ZoomGov
24

25             TO THE HONORABLE THEODOR ALBERT, UNITED STATES BANKRUPTCY

26   JUDGE; JEFFREY ADAMS GOMEZ; THE DEBTOR; THE OFFICE OF THE UNITED

27   STATES TRUSTEE; AND ALL OTHER INTERESTED PARTIES AND THEIR

28   COUNSEL OF RECORD:

                                                  1
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 1           Richard A. Marshack, court-appointed chapter 7 trustee (the “Trustee”) in the above-

 2   captioned chapter 7 case (the “Case”) of the debtor Kristina Lynn Smith (the “Debtor”), hereby

 3   files this opposition (“Opposition”) to the Motion to Dismiss Bankruptcy Case Due to Bad Faith

 4   Filing [ECF No. 26] (“Motion”) filed by Jeffrey Adams Gomez (“Gomez”). This Opposition is

 5   supported by the record and all other relevant papers and pleadings on file with this Court in the

 6   Case, all oral and documentary evidence which may be presented prior to or at the hearing on the

 7   Motion, and all matters of which the Court make take judicial notice. For the reasons set forth

 8   below, the Trustee requests that the Court deny the Motion its entirety.

 9   I.     STATEMENT OF RELEVANT FACTS

10          On or about October 3, 2024 (the “Petition Date”), the Debtor filed a voluntary petition for

11   relief under chapter 7 of the Bankruptcy Code in the United States Bankruptcy Court of the

12   Central District of California. On or about October 3, 2024, the Trustee was appointed trustee in

13   the Case.

14          As set forth on her Schedule A/B, the Debtor owns real property located at 27591 Kathy

15   Court, Laguna Niguel, California 92677 (the “Laguna Property”). The Debtor also asserts an

16   ownership interest in several investment properties, including: 1010 Moffatt, Rialto CA 92377;

17   4343 Alamitos St, Montclair CA 91763; 739 W H St, Ontario CA 91762; 14227 Weeping Ln,

18   Fontana CA 92337; 7013 Ramona, Rancho Cucamonga CA 91701; 3588 N Lugo, San Bernardino

19   CA 92404; and 137 South Terrace, San Bernardino CA 92410.

20          The Debtor and Mr. Gomez are involved in divorce proceedings pending before the

21   Orange County Superior Court (“Family Court”) as case number 17D000590. Prior to the Petition

22   Date, the Family Court ordered that the Laguna Property be sold.

23          The Trustee, through his proposed counsel, has questioned the Debtor at a meeting of

24   creditors and conducted informal discovery. The Trustee has also reviewed documents, discussed

25   values with real estate agents, and performed various other duties in this Case.

26          The Trustee believes that if the Laguna Property is sold, sufficient equity exists to pay the

27   secured claim, liens, taxes, and costs of sale, and leave equity for the Estate for distribution to

28   creditors listed on Debtor’s schedules. For that reason, the Trustee will be filing an application to

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 1   retain a real estate broker in the Case to market and sell the Laguna Property, subject to Court

 2   approval. The Trustee has also filed an application to retain Dinsmore & Shohl LLP as his general

 3   bankruptcy counsel. [ECF No. 17].

 4          Gomez filed the Motion to dismiss the Case “for cause” pursuant to § 707(a). The Motion

 5   essentially argues that the Case should be dismissed as a “bad faith filing” due to the Debtor’s

 6   “misrepresentations and omissions” in the Case. (Motion at 3.) Gomez asserts that dismissal is

 7   warranted because (1) the Debtor failed to disclose a premarital agreement, storage unit contents,

 8   Rolex watch, and other assets; (2) the Case lacks a legitimate bankruptcy purpose because the

 9   Debtor could have paid her debts through the sale of the Laguna Property outside of bankruptcy

10   and could have reduced her medical debt by submitting insurance claims; and (3) the Debtor is

11   attempting to forum shop and filed the Case solely to delay and frustrate the enforcement of state

12   court orders. (Motion at 3-5.)

13   II.    ARGUMENT

14          Dismissal of a chapter 7 case is governed by Section 707 of the Bankruptcy Code, which

15   provides that a court may dismiss a chapter 7 case “only for cause[.]” 11 U.S.C. § 707(a). In

16   Hickman v. Hana (In re Hickman), 384 B.R. 832, 840 (9th Cir. B.A.P. 2008), the court observed

17   that the “term ‘for cause’ is defined in the Bankruptcy Code only by way of a list of three

18   examples—unreasonable delay prejudicial to creditors, nonpayment of filing fees, and not filing

19   schedules—that is plainly incomplete.” In re Harris, No. 2:21-bk-10152-ER, 2021 Bankr. LEXIS

20   1664, at *6 (Bankr. C.D. Cal. Feb. 17, 2021) (quoting Hickman). The Hickman court explained

21   that courts should examine the totality of the circumstances in determining whether “cause” under

22   §707(a) is present. Harris, 2021 Bankr. LEXIS 1664, at *6-7 (citing Hickman 384 B.R. at 840).

23          While “bad faith” may provide “cause” to dismiss chapter 11 and chapter 13 bankruptcy

24   petitions, “bad faith” does not provide “cause” to dismiss a chapter 7 petition. Gomez cites two

25   decisions in support of dismissal of the Case as a “bad faith” filing: Leavitt v. Soto (In re Leavitt),

26   171 F.3d 1219, 1220 (9th Cir. 1999) and Eisen v. Curry (In re Eisen), 14 F.3d 469 (9th Cir. 1994),

27   both of which involved Chapter 13 bankruptcy petitions. As discussed in greater detail below,

28   these cases are readily distinguished because they apply the standards for dismissal of a chapter 13

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 1   case rather than standards for dismissal of a chapter 7 case such as the Case before the Court.

 2          In Neary v. Padilla (In re Padilla), the Ninth Circuit held that a debtor’s “bad faith” did

 3   not constitute “cause” for dismissal for purposes of § 707(a):

 4              We note that Chapters 11 and 13 of the Bankruptcy Code each contain a
            “dismissal for cause” provision that is structured like § 707(a) and includes the
 5          same or similar examples of “cause” as § 707(a). However, under the Chapter 11
            and Chapter 13 provisions we have held that bad faith does provide “cause” to
 6          dismiss Chapter 11 and Chapter 13 bankruptcy petitions. What distinguishes
            Chapters 11 and 13 from Chapter 7 is the language of the Bankruptcy Code itself
 7
            and the post-filing relationship between the debtor and his creditors. The
 8          Bankruptcy Code specifically mentions good faith in Chapters 11 and 13 when it
            permits a court to confirm a payment plan only if it is proposed in good faith. No
 9          mention of good faith or bad faith is made in Chapter 7. Also, the post-filing
            debtor-creditor relationship is markedly different in liquidation and reorganization
10          bankruptcies. Chapters 11 and 13, both reorganization chapters, permit the debtor
11          to “retain its assets and reorder its contractual obligations to its creditors. In
            return for these benefits, . . . the debtor [must] approach its new relationship with
12          the creditors in good faith . . .” Chapter 7, a liquidation chapter, “requires no
            ongoing relationship between the debtor and its creditors” and should be available
13          to any debtor willing to surrender all of its nonexempt assets, “regardless of
            whether the debtor’s motive in seeking such a remedy was grounded in good
14          faith.” . . . The Bankruptcy Code’s language and the protracted relationship
15          between reorganization debtors and their creditors lead us to conclude that bad
            faith per se can properly constitute “cause” for dismissal of a Chapter 11 or
16          Chapter 13 petition but not of a Chapter 7 petition under § 707(a).

17   222 F.3d 1184, 1192-93 (9th Cir. 2000) (footnotes and internal citations omitted).

18          Expanding upon Padilla, the Ninth Circuit has held that if the circumstances alleged to

19   constitute cause for dismissal are “contemplated by any specific Code provision applicable to

20   Chapter 7 petitions,” then such circumstances do not constitute cause for dismissal within the

21   meaning of §707(a). Sherman v. SEC (In re Sherman), 491 F.3d 948, 970 (9th Cir. 2007). In

22   Sherman, the SEC asserted that various types of misconduct that the debtors had allegedly

23   engaged in constituted cause for dismissal. The Ninth Circuit assumed without deciding that the

24   debtors had engaged in all the misconduct alleged, but held that dismissal was nonetheless not

25   warranted. The court explained:

26              [B]ecause other Code provisions contemplate (1) taking refuge from the
            jurisdiction of another court; (2) engaging in a “scorched earth” tactic against a
27          particular creditor; and (3) making misrepresentations in bankruptcy filings, we
            conclude that there is no “cause” to dismiss the [debtors’] bankruptcy petition
28          because of any such behavior. To respect the complex statutory scheme that

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 1          Congress has created to deal with malfeasance associated with bankruptcy
            petitions, we are loath to hold that a factor constitutes “cause” unless the
 2          Bankruptcy Code regime is incapable of righting wrongs of the kind alleged.
 3   In re Harris, No. 2:21-bk-10152-ER, 2021 Bankr. LEXIS 1664, at *8-9 (Bankr. C.D. Cal. Feb. 17,
 4   2021) (quoting Padilla, 222 F.3d at 1192-93; Sherman, 491 F.3d 948, 974 (9th Cir. 2007)).
 5          While the restrictive construction of “cause” under § 707(a) set forth in Padilla and
 6   Sherman is the minority view, this Court is bound by this more restrictive construction. See
 7   Harris, 2021 Bankr. LEXIS 1664, at *10. Applying the standards set forth in those cases, Gomez
 8   has failed to show “cause” for dismissal of Debtor’s Case.
 9          Moreover, the Case should not be dismissed because there are significant non-exempt
10   assets that may be administered for the benefit of creditors. As a result, the Debtor’s creditors will
11   be prejudiced by dismissal. The Debtor has limited income and resources and there is no
12   guarantee that creditors will receive payment outside of the bankruptcy process.
13          Based on the foregoing, Gomez has not met his burden of showing that dismissal of the
14   Case is warranted. The Motion should therefore be denied.
15   III.   CONCLUSION
16          WHEREFORE, the Trustee respectfully requests that this Court enter an order denying the
17   Motion in its entirety, and any other and further relief that the Court deems just and proper.
18
     Dated: January 28, 2025                       Respectfully submitted,
19

20                                                 DINSMORE & SHOHL LLP

21
                                                   By: /s/ Matthew J. Stockl
22                                                     Yosina M. Lissebeck
                                                       Matthew J. Stockl
23

24                                                      Proposed Counsel to the Chapter 7 Trustee,
                                                        Richard A. Marshack
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 1                             PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is:                     550 S. Hope Street, Suite 1765
 3                                   Los Angeles, CA 90071

 4   A true and correct copy of the foregoing document entitled (specify): CHAPTER 7 TRUSTEE’S
     OPPOSITION TO MOTION TO DISMISS BANKRUPTCY CASE DUE TO BAD FAITH
 5   FILING will be served or was served (a) on the judge in chambers in the form and manner required by
     LBR 5005-2(d); and (b) in the manner stated below:
 6
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On January 28, 2025, I checked the CM/ECF docket for this bankruptcy case or
 8   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
     receive NEF transmission at the email addresses stated below:
 9
10
                                                               Service information continued on attached page
11
     2. SERVED BY UNITED STATES MAIL:
12   On January 28, 2025, I served the following persons and/or entities at the last known addresses in this
     bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
13   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
     constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
14   document is filed.

15
                                                               Service information continued on attached page
16
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
17   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
     January 28, 2025, I served the following persons and/or entities by personal delivery, overnight mail
18   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
     email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
19   mail to, the judge will be completed no later than 24 hours after the document is filed.

20

21                                                             Service information continued on attached page

22   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

23    01/28/25              Katrice Ortiz                 /s/ Katrice Ortiz
      Date                     Printed Name               Signature
24

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 1                                       In re Kristina Lynn Smith
                            U.S.B.C., Central District of California, Santa Ana Division
 2                                         Case No. 8:24-bk-12527-TA

 3    I. SERVED ELECTRONICALLY VIA NEF:

 4             Richard G. Heston rheston@hestonlaw.com,
                yflores@hestonlaw.com,docs@hestonlaw.com,HestonRR41032@notify.bestcase.com,hest
 5              onlaw@recap.email
 6             Richard A Marshack (TR) pkraus@marshackhays.com,
                ecf.alert+Marshack@titlexi.com
 7             Matthew J Stockl matthew.stockl@dinsmore.com, katrice.ortiz@dinsmore.com
               United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 8             Julie J Villalobos julie@oaktreelaw.com,
                oakecfmail@gmail.com;villalobosjr51108@notify.bestcase.com;gus@oaktreelaw.com
 9
               Jennifer C Wong bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com
10

11   II.        SERVED VIA REGULAR U.S. MAIL:

12              Creditor:

13              Jeffrey Adams Gomez
                27931 Hedgeline Drive
14              Laguna Niguel, CA 92677
15   III.       SERVED VIA OVERNIGHT (FED EX):
16              U.S. Bankruptcy Court:
17
                Hon. Theodor Albert
18              United States Bankruptcy Court
                Central District of California
19              Ronald Reagan Federal Building and Courthouse
                411 West Fourth Street, Suite 5085
20              Santa Ana, CA 92701-4593
21

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